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FILED
UNITED STATES DISTRICT COURT Ub
MIDDLE DISTRICT OF FLORIDA 2017 AUG 10 AM 8:43

TAMPA DIVISION

CLERK. US DISTRICT CouRT
UNITED STATES OF AMERICA MIDOLE CISTRICT OF FLORIDA
ex rel. WILLIAM STILLWELL and

PENELOPE STILLWELL
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Relators, Case No.
FILED UNDER SEAL
PURSUANT TO 31 U.S.C.
§ 3730(b)(2)
DO NOT PUT IN PRESS
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STATE FARM FIRE AND CASUALTY CO.
and MOTORISTS MUTUAL INSURANCE CoO.

Defendants

FALSE CLAIMS ACT COMPLAINT AND DEMAND FOR JURY TRIAL

INTRODUCTION

A. Relators William Stillwell and Penelope Stillwell bring this action on behalf of the
United States against State Farm Fire and Casualty Co. and Motorists Mutual Insurance Co. for
treble damages and civil penalties for the Defendants’ violations of the False Claims Act, 31 U.S.C.
§ 3729 et seq.

2. Prior to filing this Complaint, pursuant to 31 U.S.C. § 3730(b)(2) and §
3730(e)(4)(B), Relators have provided to the Attorney General of the United States and to the
United States Attorney for the Middle District of Florida a written disclosure of substantially all
material evidence and information they possess. Because this disclosure statement includes

attorney-client communications and work product of Relators’ attorney prepared in anticipation of
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litigation, and is submitted to the Attorney General and the United States Attorney in their capacity
as potential co-counsel in this litigation, Relators understand this disclosure to be confidential.

3. Relators are “original sources” under 31 U.S.C. § 3730(e)(4)(B) because their
allegations are based on their personal experiences dealing with the Defendants.

JURISDICTION AND VENUE

4. This action arises under the False Claims Act, 31 U.S.C. § 3729 et seq. This
Court has jurisdiction over this case pursuant to 31 U.S.C. § 3732(a) and § 3730(b), as well as 28
U.S.C. § 1345 and § 1331.

5. Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) because some of the
acts proscribed by 31 U.S.C. § 3729 et seq. and complained of herein took place in this district,
and is also proper pursuant to 28 U.S.C. § 1391(b) and (c) because at all relevant times Defendants
transacted business in this district. In particular, the false claims listed in Composite Exhibit 2!
were submitted to the Medicare program by providers in the Middle District of Florida. In addition,
the fraudulent release agreements attached as Exhibits 3 and 4? were forwarded to the Relators in
the Middle District of Florida.

PARTIES

6. State Farm Fire and Casualty Company (“State Farm’’) provides property
insurance to State Farm customers throughout the United States. It is based in Bloomington,
Illinois. State Farm insured Eagle-Kirkpatrick Management Co., Inc.; Kirkpatrick Management
Co., Inc., and Section C Homeowners Association, Inc.

Ty Motorists Mutual Insurance Co. (“Motorists Mutual”) is a regional insurance

1 See 9 15 below.
? See 4s 15-17 below.
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company based in Columbus, Ohio. Motorists Mutual insured G.T. Services, Inc. d/b/a Green
Touch Services, Inc., a company that provided snow plowing services.

8. William Stillwell is a Medicare beneficiary currently living in the Tampa Bay
area. He is a retired Indiana University professor. Mr. Stillwell was covered by the Indiana
University Retiree Health Plan from his retirement date of January 1, 2010 until he became eligible
for Medicare when he turned 65 years old in March 2011.

9. Penelope Stillwell is William Stillwell’s wife. She is a graduate of Indiana
University School of Law — Indianapolis and lives in the Tampa Bay area with her husband
William Stillwell.

THE MEDICARE SECONDARY PAYER (“MSP”) ACT

10. The Medicare Secondary Payer Act (“MSP”’) prohibits payment by Medicare as a
primary payer where payment "has been made, or can reasonably be expected to be made under a
... lability insurance policy or plan ....” 42 U.S.C. § 1395y(b)(2)(A).

MSP VIOLATIONS AS FALSE CLAIMS ACT VIOLATIONS

Ls Knowingly submitting non-reimbursable claims to the Medicare program for
payment violates the False Claims Act. United States ex rel. Walker v. R&F Properties of Lake
County, Inc., 433 F.3d 1349, 1356 (11" Cir. 2005) (“Medicare claims may be false if they claim
reimbursement for services or costs that....are not reimbursable....”).

12. Numerous courts have held that insurers’ violations of the Medicare Secondary
Payer Act can cause the submission of false claims to Medicare:

United States ex rel. Drescher v. Highmark, Inc., 305 F.Supp.2d 451, 461 (E.D. Pa. 2004)

(“If Highmark, for instance, specifically directs the provider to submit the claim to

Medicare for payment, or otherwise suggests to the provider that Medicare should be the
primary payer, then the United States may have a claim against Highmark under the FCA”).
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United States ex rel. St. Joseph's Hospital, Inc. et al. v. United Distributors, Inc., 2015 WL
8207477, *7 (S.D. Ga., December 7, 2015) (denying defendants’ summary judgment
motions where “in at least two circumstances [defendants’] statements regarding
Medicare’s responsibility as primary insured directly resulted in claims made to the
Medicare system’’).

United States ex rel. Jersey Strong Pediatrics, LLC v. Wanaque Convalescent Center et
al., 2017 WL 2577544, *4 (D.N.J., June 14, 2017) (holding that defendants fraudulently
billing Medicare as primary payer in violation of MSP Act constitutes an implied false
certification under the False Claims Act, but dismissing FCA claim for failure to plead that
MSP lawyer material to government’s decision to pay the submitted claims).

Negron v. Progressive Casualty Insurance Co., 2016 WL 796888, *7 (D.N.J., March 1,
2016) (“By remaining ignorant of the fact that Relator did not have qualifying health
insurance (i.e., a non-Medicare/Medicaid health insurance policy) for a health first policy,
Relator’s auto insurer caused Relator’s health providers to treat Medicare as the primary
payer of Relator’s auto-related medical costs”).

United States ex rel. Sharp v. Eastern Oklahoma Orthopedic Center, 2009 WL 499375,
*17 (N.D. Okla., February 27, 2009) (““The Court finds Relator’s allegations sufficient to
state a claim for an FCA violation. Relator alleges that EOOC submitted false claims —
i.e., claims that were false on their face—by knowingly omitting relevant information
regarding secondary payers from a claim and that EOOC did so in order to conceal later
payments received by secondary payers”).

FACTUAL BACKGROUND

13. On December 13, 2010, William Stillwell was severely injured due to slipping
and falling on ice and snow outside his home in Indianapolis, Indiana. In March 2011, Mr.
Stillwell became a Medicare beneficiary when he turned 65 years old.

14. William Stillwell’s left ankle was gravely damaged in this accident. On July 5,
2011, Mr. Stillwell’s lower leg had to be amputated. His other leg is in danger of also being
amputated. Mr. Stillwell has received a good faith estimate that his lifetime medical expenses will
total between $871,559.55 and $935,559.60. Exhibit 1.

15. | Beginning in November 2011, Mr. Stillwell and Penelope Stillwell were
plaintiffs in a lawsuit against various defendants who failed to properly remove the snow and ice

from outside his home, including Eagle-Kirkpatrick Management Co., Inc.; Kirkpatrick
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Management Co., Inc.; Section C Homeowners Association, Inc.; and G.T. Services, Inc., d/b/a
Green Touch Services Inc. These defendants were insured by Defendants State Farm Fire and
Casualty Company and Motorists Mutual Insurance Co.

FALSE CLAIMS ACT VIOLATIONS

16. Defendants State Farm and Motorists Mutual fraudulently caused Medicare
to pay claims for services provided to William Stillwell which under the MSP Act should not have
been paid by Medicare. See Composite Exhibit 2 (Medicare EEOB forms). In addition, State
Farm and Motorists Mutual have conspired to illegally shift William Stillwell’s future medical
expenses resulting from this accident from liability insurance carriers onto the Medicare program.
See Exhibits 3 and 4 (Motorist Mutual and State Farm release forms).

La, Motorists Mutual pushed Relators to sign a release agreement (Exhibit 3) which
falsely stated (1) that “William Stillwell has completed treatment for his injuries suffered in the
Incident”, and (2) that “[b]ased upon consultation with her (sic) medical care providers, William

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Stillwell and Penelope Stillwell do not anticipate the need for future medical care.” Motorists
Mutual knew these statements in its proposed release were false because Motorists Mutual had
already been provided with the life care plan showing William Stillwell’s future projected medical
expenses as being between $871,559.55 and $935,559.60. Motorists Mutual therefore knew that
in truth and in fact that William Stillwell had not completed treatment for the injuries he suffered
in the fall and that William Stillwell definitely had need for future medical care.

18. State Farm pushed Relators to sign a later global release agreement (Exhibit 4)°

which falsely stated that that the “future medical care” of William Stillwell and Penelope Stillwell

“shall not be affected by the terms and conditions of this document”, despite the fact that State

* Although Relators never signed Exhibit 4, the global release agreement drafted by State Farm, the court included
this release language in its final order dated July 26, 2017.

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Farm acknowledged in this very release that William Stillwell was a Medicare beneficiary who
had ‘an obligation to reimburse Medicare ... for medical services rendered to date in this
matter.” State Farm knew that this statement in its global release was false because it knew (1)
that William Stillwell had a large-scale need for continuing medical services as documented in
Exhibit 1 given his left foot amputation and possible right foot amputation;* (2) that its global
release would force Medicare to pay for medical expenses which reasonably should have been
paid for by a liability insurance policy or plan; and (3) that by pushing William Stillwell’s future
medical expenses onto the Medicare program, William Stillwell would be required to pay 20
percent of those costs when he rightfully should have had to pay none of those costs under the
insurance policies issued by State Farm and Motorists Mutual.

19. Both State Farm and Motorists Mutual have individually and in concert with each
other sought to cause the submission of claims to Medicare for the continuing care of William
Stillwell which are false and fraudulent because such costs are excluded from coverage under
Medicare since they should be paid instead "under a ... liability insurance policy or plan .....". 42
U.S.C. § 1395y(b)(2)(A). State Farm and Motorists Mutual acted knowingly under the False
Claims Act because both companies were aware that William Stillwell was a Medicare beneficiary
and that the Medicare Secondary Payer Act applied.

COMPANY-WIDE POLICIES

20. Both State Farm and Motorists Mutual acted in the William Stillwell case according
to national corporate policies. For example, the releases attached as Exhibits 3 and 4 are form

documents. In addition, State Farm's counsel in the William Stillwell case, Bradley Schulz, is a

State Farm employee.

* See February 2, 2017 email from State Farm Litigation Counsel Bradley Schulz attached as Exhibit 5 noting that “a
life care plan” and “a catastrophic injury” are “both present here.”

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COUNT I

PRESENTING AND CAUSING TO BE PRESENTED FALSE AND
FRAUDULENT CLAIMS IN VIOLATION OF 31 U.S.C. § 3729(a)(1)(A)

21. Relators reallege and incorporate by reference paragraphs 1 through 20.

22, From at least 2016, Defendants knowingly caused to be presented claims to the
Medicare program, specifically including the claims listed in Composite Exhibit 2, which were
false and fraudulent because such claims were ineligible for reimbursement under the Medicare
Secondary Payer Act, 42 U.S.C. § 1395y(b)(2)(A).

COUNT I
MAKING FALSE RECORDS OR STATEMENTS MATERIAL

TO FALSE AND FRAUDULENT CLAIMS IN VIOLATION
OF 31 U.S.C. § 3729(a)(1)(B)

23. Relators reallege and incorporate by reference paragraphs 1 through 20.

24. From at least 2016, Defendants knowingly made false records or statements,
specifically including release agreements such as Exhibits 3 and 4, material to false and fraudulent
claims presented to the Medicare program, specifically including the claims listed in Composite
Exhibit 2. These release agreements were false and fraudulent and material to false and fraudulent
claims because they were designed to force the Medicare program to pay for medical expenses
which under the Medicare Secondary Payer Act were required to be paid for by a liability insurance
policy or plan.

CONSPIRING TO CAUSE TO BE PRESENTED FALSE AND FRAUDULENT
CLAIMS AND TO MAKE FALSE RECORDS AND STATEMENTS MATERIAL

TO FALSE AND FRAUDULENT CLAIMS IN VIOLATION OF
31 U.S.C. § 3729(a)(1)(C)

25. Relators reallege and incorporate by reference paragraphs 1 through 20.
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26. From at least 2016, Defendants knowingly conspired and agreed together to (1)
knowingly cause to be presented claims to the Medicare program, specifically including the claims
listed in Composite Exhibit 2, which were false and fraudulent because such claims were
ineligible for reimbursement under the Medicare Secondary Payer Act, 42 U.S.C. §
1395y(b)(2)(A); and (2) knowingly make false records and statements, specifically including
release agreements such as Exhibits 3 and 4, which were false and fraudulent because they were
designed to force the Medicare program to pay for medical expenses which under the Medicare
Secondary Payer Act were required to be paid for by a liability insurance policy or

plan.

PRAYER FOR RELIEF

Wherefore, Relators respectfully request this Court enter judgment against Defendants
and order:

(a) That the United States be awarded damages in the amount of three times

the damages sustained because of the false and fraudulent claims alleged within this

Complaint, as the False Claims Act provides;

(b) | That maximum civil penalties be imposed for each and every false and

fraudulent claim that the Defendants have presented and caused to be presented;

(c) That pre and post-judgment interest be awarded, along with reasonable

attorneys’ fees, costs and expenses which Relators necessarily incurred in bringing and

pressing this action;

(d) That the Court grant permanent injunctive relief to prevent any recurrence

of the False Claims Act violations for which redress is sought in this Complaint;

(e) That Relators be awarded the maximum relator share allowed pursuant to
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the False Claims Act; and
(f) That the Court award such other and further relief as it deem proper.

DEMAND FOR JURY TRIAL

Relators, on behalf of themselves and the United States, demands a jury trial on all claims

alleged herein.

Respectfully submitted,

I> De
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Counsel for Qui Tam Relators

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing False Claims Act
Complaint and Demand for Jury Trial has been furnished by certified mail return receipt requested

to: Acting United States Attorney W. Steven Muldrow, United States Attorney’s Office, 400 N.

Tampa Street, Ste. 3200, Tampa, FL 33602; and to Attorney General Jeff Sessions, Dept. of

Justice, 950 Pennsylvania Ave., N.W., Washington, D.C. 20530 on this 10" day of August 2017.

KL pW

Kevin J. Darken

